Case 19-10782         Doc 92       Filed 07/16/19 Entered 07/16/19 11:16:06      Desc Main
                                     Document     Page 1 of 3


                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MASSACHUSETTS


 In Re:                                      )    Chapter 13
 ANDREW GREENHUT                             )    Case No. 19-10782-FJB
         Debtor                              )
 ----------------------------------------------

      RESPONSE OF GLORIA AND ALAN GREENHUT TO DOCUMENT 66 -
    OBJECTION OF CREDITOR, GITA SRIVASTAVA TO CLAIM ASSERTED BY
                         DEBTOR’S PARENTS

 To the Honorable Frank J. Bailey, Bankruptcy Judge:

         Gloria and Alan Greenhut (the “Debtor’s Parents”) submit the following response

 to the Objection of Creditor, Gita Srivastava (the “Creditor”) to Claim Asserted by

 Debtor’s Parents – Document No. 66 (hereinafter the “Objection”). The Objection was

 filed on June 20, 2019 and pursuant to applicable Local Rule, a response is due on or

 before July 20, 2019.

         1.    The statement in Paragraph 1 of the Objection is admitted.

         2. The statements in Paragraph 2 of the Objection are admitted.

         3. The statement in Paragraph 3 of the Objection regarding the term “purported”

              is denied. The Debtor’s Parents deny that funds were “given” to the Debtor.

              The last loan was October 15, 2018. The Loans were actually made by the

              Debtor’s Parents.

         4. The Debtor’s Parents admit that a proof of claim was filed in the amount of

              $219,167.24.

         5. The Debtor’s Parents admit that the promissory note was dated and signed on

              December 7, 2018. The Debtor’s Parents deny that the promissory note was

              purported. The Debtor’s Parents have no knowledge if several garnishments
Case 19-10782     Doc 92      Filed 07/16/19 Entered 07/16/19 11:16:06         Desc Main
                                Document     Page 2 of 3


           were in place. The Debtor’s Parents have no knowledge of the allegations in

           footnote 1 in Paragraph 5 of the Objection but the Debtor’s Parents deny there

           is or was a false labeling of parental gifts as loan.

        6. The Debtor’s Parents admit that the promissory note was signed after the

           funds were loaned to the Debtor. The second sentence of Paragraph 6 is

           admitted.

           (a) The allegation in this sub-paragraph is denied.

           (b) The allegation in this sub-paragraph is denied.

           (c) The allegation in this sub-paragraph is denied.

           (d) The allegation in this sub-paragraph is denied.

        7. The allegations in paragraph 7 are denied. The Debtor’s parents deny that the

           Claim should be disallowed.

        8. The Chapter 13 Plan, presently on file with this Court, Document No. 26, is a

           fixed Percentage Plan which provides for allowed claims to be paid a dividend

           of 27.17% of the allowed claim.

        9. The Creditor does not have standing to assert this objection.

 WHEREFORE, the Debtor’s Parents request that this Objection be overruled.


                                               Alan and Gloria Greenhut
                                               By their Counsel,


 Dated: July 16, 2019                          /s/Gary W. Cruickshank, Esq.
                                               21 Custom House Street
                                               Suite 920
                                               Boston MA 02110
                                               (617)330-1960
                                               (BBO107600)
                                               gwc@cruickshank- law.com
Case 19-10782      Doc 92     Filed 07/16/19 Entered 07/16/19 11:16:06            Desc Main
                                Document     Page 3 of 3




                                CERTIFICATE OF SERVICE

 I, Gary W. Cruickshank, hereby certify that on July 16, 2019, I electronically filed with
 the Clerk of the Bankruptcy Court, the foregoing Response and served same in the
 following manner upon the interested parties:

 Email service: via the Court’s CM/ECF system which sent notification of such filing to
 the following:

    •   Carolyn Bankowski-13-12 13trustee@ch13boston.com
    •   John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
    •   Richard N. Gottlieb rnglaw@verizon.net, r39800@notify.bestcase.com
    •   Alex F. Mattera amattera@psh.com




                               /s/Gary W. Cruickshank, Esq.
